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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF MAINE


UNITED STATES OF AMERICA                      )
                                              )
       v.                                     )       Criminal No. 1:21-cr-00078-LEW
                                              )       SEALING REQUESTED
DAVID PHILLIPS                                )


             MOTION TO SEAL MOTION FOR DOWNWARD DEPARTURE

       The Government hereby requests that the Court seal the Motion for Downward Departure

and corresponding docket entries until further order of this court.

       Dated at Bangor, Maine, this 6th day of December, 2021.

                                              Respectfully submitted,

                                              DARCIE N. MCELWEE
                                              United States Attorney

                                              BY: /s/ ANDREW MCCORMACK

                                              ANDREW MCCORMACK
                                              Assistant United States Attorney
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                               CERTIFICATE OF SERVICE

       I hereby certify that on December 6, 2021, I filed Government=s Motion to Seal Motion

for Downward Departure with the Clerk of Court via newcases and sent notification of such

filing to the following:

Luke Rioux, Esq., at luke@rdcplawyers.com



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